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UNI’I`ED S'I`A'I`ES BANKRUPTCY COURT
DISTRICT OF DELAWARE

 

in re Chapter 1 l

OPEN ROAD FILMS, LLC, a Deiaware Case No.: 18~12012 (LSS)
limited liability company et alj
(Jointiy Administered)
Debtors.
Ref. Docket No. 9

 

 

ORDER: (1) APPROVING BID AND SALE PR{)CEDURES, (2) APPROVING
ASSUMP'I`ION, ASSIGNMENT AND CURE PROCEDURES AND RELATED
NO’I`ICES, (3) ES'I`ABLISHING DATE FOR AUCTION AND APPROVING RELATED
PROCEDURES, (4) SCHEI)ULING THE SALE HEARING AND RELATED
DEADLINES., ANI) (5} GRANTING RELATED RELIEF

The Court having considered the Motz`on for Orders (/1‘)(1) Establishing Bid find Sale
Procedures Relating to the Sale ofSubstantially All ofthe Debtors ’ Assets, (II) Authorizing the
Debtors fo Enter Inio cm Asset Pw'chase Agreemem‘ Wifh Smlking Horse Bidder,
(IID Esfablishing and Approving PI‘Ocedures Relating to the Assump‘tion, Assignment and Sa.le of
Certain Executory Conh~acts and Unexpired Leases, Including Notice of Proposed Cure
Amoums and (IV) Schedulz'ng d Hear"z'ng to Consider the Proposed Sale and (B) (I) Approving the
Sale ofSubsz‘antially All Ofthe Debtors ’Assel.‘s, (II) Authorizing the Assumptz'on, Assignment and

Sale of Certaz`n Execufo)j) Conlracts and Unexpired Leases, and (HI) Granting Certaz'n Related

 

Relief [Docket No. 9] (the “Motion”),2 filed by Open Road Films, LLC and its affiliated debtors
and debtors in possession (the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”),

any responsive pleadings filed in connection With the Motion, the record in the above-captioned

 

l The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
Open Road Films, LLC (4435 Dei.); Open Road Releasing, LLC (4736 Del.); OR Productions LLC (5873
Del.); Briareliff LLC (73()4 Dei.); Open Road lnternational LLC (4109 Def.); and Einpire Productions LLC
(9375 Del.). The Debtoi‘s’ address is 2049 Centui‘y Park East, 4th Fioor, Lcs Angeles, CA 90067.

2 Capitalized terms not otherwise defined in this Order shatl have the meanings ascribed to them in the Motion.

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cases, and the representations of counsel at the hearing on the Motion (the “Hng”); and the
Court having determined that notice of the Motion was adequate and sufficient; and after due
deliberation and sufficient cause appearing therefor;

IT IS HEREBY FOUND AND DETERMINED THAT:3

A. The Court has jurisdiction over this matter and over the property of the Debtors
and their respective bankruptcy estates pursuant to 28 U.S.C. §§ lS?(a) and 1334. This matter is
a core proceeding pursuant to 28 U.S.C. § lS?(b)(Z)(A), (M), (N), and (O). The statutory
predicates for the relief sought herein are sections 105, 363, 365 of the Banl<ruptcy Code and
Bankruptcy Rules 2002, 6004, 6006, 9008, 9(}14 and 9019. Venue of these Chapter ll Cases
and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

B. The relief granted herein is in the best interests of the Debtors, their estates, their
stakeholders, and other parties in interest

C. The notice of the l\/iotion, the Hearing, and the proposed entry of this Order Was
adequate and sufficient under the circumstances of these Chapter ll Cases, and such notice
complied with all applicable requirements of Title ll of the United States Code (the “Bankruptcy
Co_de”), the Federal Ruies of Banl<ruptcy Procedure (the “Bankruptcy Rules”), and the Local
Rules of Banl<ruptcy Practice and Procedure for the United States Bankruptcy Court District of
Delaware (the “Local Rules”). Accordingly, except as otherwise set forth herein, no further
notice of the Hearing or this Order and the relief provided for herein is necessary or required.

D. All objections to the relief requested in the Motion as it pertains to the relief
granted herein that have not been Withdrawn, waived or settled as announced to the Court at the

Hearing or by stipulation filed with the Court, are overruled except as otherwise set forth herein.

 

3 All findings of fact and conclusions of law announced by the Couit at the Hearing are hereby incorporated
herein to the extent not inconsistent herewith

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E. The Debtors have articulated good and sufficient reasons for the Court to
(i) approve the bid procedures set forth in this Order (the “Bid Procedures”), (ii) approve the
form and manner of notice of the Motion, the Auction (as defined below), the Sale I-Iearing (as
defined below), and the procedures for assumption, assignment and sale of the executory

contracts and unexpired leases listed on Exhibit l to the Notice of Assignrnent and Assurnption

 

(as defined below) (the “Contracts”), (iii) authorize the Debtors to enter into an asset purchase
agreement With a stall<ing horse bidder subject to Court approval of any bid protections; and
(iv) set the date of the Auction and the Sale Hearing.

F. The proposed Notice of Auction and Sal'e Hearing, substantially in the form
attached hereto as Exhibit A (the “Sale Notice”), and the proposed notice substantially in the
forrn attached hereto as Exhibit B to be served on counterparties to the Contracts (the “Notice of
Assumption and Assignnient”), are each calculated to provide adequate notice conceming the
proposed sale of the Purchased Assets and the proposed assumption, assignment, and sale of the
Purchased Contracts (as defined below), Will provide due and adequate notice of the relief sought
in the Motion, and are each hereby approved

G. The Bid Procedures are reasonable and appropriate, and represent a fair and
appropriate method for maximizing the realizable value of the Debtors’ assets.

H. The entry of this Order is in the best interests of the Debtors, their estates, their
creditors, and all other parties in interest.

THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

l. The l\/iotion is GRANTED as set forth herein.
2. Any objections filed or asserted in response to the Motion and the relief granted
herein, to the extent not resolved as set forth herein or on the record at the Hearing, are hereby

overruled
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3. Any prospective bidder (each, a “Potential Bidder”) identified by the Debtors’
Chief Restiucturing Officer (the “Q__KQ”) as reasonably likely to be a Qualified Bidder (as
defined below) that wishes to conduct due diligence on the Debtors or their assets With respect to
a potential bid shall be granted access to all material information regarding the Debtors upon
execution of a confidentiality agreement reasonably acceptable to the Debtors, provided that if
any Potential Bidder is a competitor or an affiliate thereof, such confidentiality agreement may
contain provisions reasonably acceptable to the Debtors (in consultation with the Consultation
Parties) that such competitor or affiliate use such information solely in connection with a
potential Sale.

4. Any Potential Bidder that wishes to participate in the bidding process for the
Purchased Assets must, no later than November 2, 2018 at 5:()0 p.m. (Eastern Time) (the “B_id
Deadline”):

a. Subrnit to the Debtors, through their counsel (i) Klee, Tuchin, Bogdanoff
& Stern LLP, Attn: Michael L. Tuchin, Esq. and Jonathan l\/I. Weiss, Esq., email:
mtuchin@ktbslaw.com and jweiss@ktbslaw.com, and (ii) Young Conaway Stargatt & Taylor,
LLP, Attn: Michael R. Nestor, Esq. and Robert F. Poppiti, Jr., Esq., email: mnestor@ycst.com
and rpoppiti@ycst.com, with copies to (i) the Debtors’ proposed Chief Restructuring Officer,
Amir Agam, email: amir.agam@fticonsulting.com, (ii) counsel for the official committee of
unsecured creditors, if any (the “Committee”), Pachulski Stang Ziehl & lones LLP, Attn: Robert
.l. Feinstein, Esq., email: rfeinstein@pszjlaw.com, Scott L. Hazan Esq., email:
shazan@pszjlaw.com, and Colin R. Robinson, Esq., email: crobinson@pszjlaw.com, (iii) co-
counsel for the Agent, Paul l-Iastings LLP, Attn: Andrew Tenzer, Esq., email:

andrewtenzer@paulhastings.com and Susan Williams, Esq., email:

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susanwilliams@paulhastings.com, and Ashby & Geddes, P.A., Attn: Bill Bowden, Esq., email:
wbowden@ashbygeddes.com, and (iv) counsel for certain guilds, Bush Gottlieb, a Law
Corporation, 801 North Brand Boulevard, Suite 950, Glendale, California, Attn: Joseph A.
Kohanski, Esq., email: kohanski@bushgottlieb.corn and David E. Ahdoot, Esq., email:
dahdoot@bushgottlieb.com an irrevocable offer in the form of an executed asset purchase
agreement (a “Proposed APA”), including (A) all exhibits and schedules contemplated thereby
(other than exhibits and schedules that by their nature must be prepared by the Debtors) and
(B) a list of Contracts that the Potential Bidder proposes to be assumed, assigned and sold to it in
connection with the transaction (the “Purchased Contracts”), and without financing, internal
approval or due diligence contingencies The Potential Bidder shall also submit a “blacklined”
or otherwise marked copy of the Proposed APA reflecting the differences between the Proposed
APA and the form APA attached to the l\/lotion as Erhibit III (tbe “Form APA”). The Proposed
APA (i) must propose an acquisition of (A) all or substantially all of the Purchased Assets or
(B) such other group of assets reasonably acceptable to the CRO in consultation with the
Consultation Parties, (ii) must contain an acknowledgement that the Potential Bidder has relied
upon its own independent review, investigation and/or inspection of any document and/or Assets
in making its bid, and (iii) must include a commitment to close by no later than November 16,
2018. The Proposed APA may be subject to the accuracy, in all material respects, of specified
representations and warranties at or before closing, or the satisfaction at the closing of specified
conditions

b. Any Qualified Bidder who has a valid and perfected lien on assets of the
Debtors’ estates (a “Secured Creditor”) shall have the right to credit bid all or a portion of such

Secured Creditor’s secured claims to the extent permitted under section 363(k) of the Bankruptcy

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Code (the “Credit Bid Right”); provided that a Secured Creditor shall have the right to credit bid
its secured claim only with respect to the assets by which such Secured Creditor is secured, and
provided further that the intention to exercise any Credit Bid Right must be expressed on or
before the Bid Deadline. For the avoidance of doubt, every dollar of a credit bid shall be treated
the same as a dollar from a cash bid. The Agent and the Prepetition Secured Parties have a
Credit Bid Right up to the entire outstanding amount of their claims, subject to section 363(k) of
the Bankruptcy Code.

c. Make a good faith deposit in an amount not less than 10% of the purchase
price (the “Bid Deposit”) in the form of a cashier’s check or wire transfer into an escrow account
(the “ egregated Account”) that shall be opened or made available by the Debtors for this
purpose. The Agent and the Prepetition Secured Parties shall not be required to make any Bid
Deposit in connection with any Proposed APA. The Bid Deposit shall: (i) immediately become
non-refundable (subject to the next sentence) and (ii) be credited toward the Purchase Priee, if
and when the transaction with the Potential Bidder making such deposit is approved by the Court
(the “Winning Bi ” and the “Winning Bidder”) at the Sale Hearing. lf a Potential Bidder’s bid is
not designated as a Qualihed Bid (as defined belcw), or such bid is not approved as the Winning
Bid or the Back~Up Bid (as defined below) at the Sale Hearing, the Bid Deposit of such bidder
will be returned to such bidder within three (3) business days after the Sale Hearing.

d. Provide written evidence reasonably satisfactory to the CRO in
consultation with the Consultation Parties of (i) the identification of the Potential Bidder, its
principals, and the representatives thereof who are authorized to appear and act on their behalf
for all purposes regarding the contemplated transaction, (ii) the Potential Bidder’s corporate or

other authority to enter into the contemplated transaction, and (iii) the Potential Bidder’s

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financial ability to (A) fully and timely perform all obligations under the Proposed APA if it is
declared to be the Winning Bidder, and (B) provide adequate assurance of future performance
under all Contracts to be assigned and sold to it, which may include, but is not limited to, the
following (provided, however, that the CRO in consultation with the Consultation Parties shall

determine whether the written evidence of adequate assurance of future performance is

 

acceptable) :
i. the Potential Bidder’s current financial statements (audited if they
!
exist); i
ii. contact names and numbers for verification of financing sources;
iii. evidence of the Potential Bidder’s resources and proof of any debt

or equity funding commitments that are needed to close the contemplated transaction and to
provide adequate assurance of future performance to the non-Debtor parties to Purchased
Contracts; and
iv. any such other form of financial disclosure or credit-quality
support information or enhancement acceptable to the CRO in consultation with the Consultation
Parties demonstrating that such Potential Bidder has the ability to close the contemplated
transaction
e. Disclose any connections or agreements with the Debtors, any other
known Potential Bidder or Qualified Bidder, and/or any officer, director or direct or indirect
equity security holder of the Debtors.
5. lf a Potential Bidder delivers all of the materials described in paragraph 4 above,
(including the Bid Deposit) by the Bid Deadline, the CRO, in consultation with the Committee

and the Agent (the “Consultation Parties,” provided, however, that the Agent shall cease to be a

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Consultation Paity at any time after the Agent or the Prepetition Secured Parties have submitted
a Proposed APA, unless such Proposed APA has been withdrawn), will determine whether the
Potential Bidder (i) has demonstrated the financial ability to consummate the purchase of the
Purchased Assets, (ii) is reasonably likely to be able to and willing to consummate the
contemplated transactions and (iii) has otherwise satisfied all of the requirements described in

paragraph 4 above. If so, the Debtors shall designate the Potential Bidder as a “Qualitied

 

B_i_d@” and such bid as a “Qualified Bi .” The Debtors shall promptly notify all Qualihed
Bidders of the identity of any other Qualified Bidders.

6. The Debtors, in consultation with the Consultation Parties, may enter into a
stalking horse agreement (the “Stall<ing Horse Agreement”) for the sale of the Purchased Assets.
If the Debtors enter into an agreement with a stalking horse entity (the “ talking Horse
Purchaser”), no later than two (2) business days after execution of the Stalking Horse
Agreement, the Debtors shall (i) file and serve a notice (the “Stalking Horse Agreement
NLice”), via overnight delivery, of the proposed Stalking Horse Agreement on all parties Who
Were served with the Motion, and (ii) file a copy of the Stalking Horse Agreement Notice and the
Stalking Horse Agreement on the docket of the Chapter ll Cases. The Stalking Horse
Agreement Notice will include the type and amount of bid protections, if any, a general
description of the assets covered by the Stalking Horse Agreement, and any necessary
modifications or amendments to the Bid Procedures. Notice of the Stalking Horse Agreement
shall be good and sufficient, and except as otherwise set forth in this paragraph with respect to
any associated bid protections, no other or further notice of the Stalking Horse Agreement shall
be required, if given as set forth in this paragraph The Debtors shall request that the Court set a

hearing, to be held no later than five (5) business days after execution of the Stalking Horse

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Agreement, to consider approval of any associated bid protections The Stalking Horse
Purchaser shall be deemed to be a Qualified Bidder and the Stalking Horse Purchaser’s bid shall
be deemed a Qualified Bid, provided, however, that any associated bid protections shall remain
Subject to the approval of this Court as set forth in this paragraph

7. lf the Debtors receive at least two (2) Qualified Bids prior to the Bid Deadline,

 

then the Debtors shall notify each Qualified Bidder that the Debtors intend to conduct an auction
(the “ALtion”) to consider all Qualified Bids, subject to reasonable rules and regulations as may
be established by the Debtors, in consultation with the Consultation Parties. The Auction to
determine the successful bidder for the Purchased Assets shall be held on November 7, 2018 at
10:00 a.m. (Eastern Time) at a location to be identified in advance of the Auction. Each bidder
participating at the Auction will be required to confirm that it has not engaged in any collusion
with respect to the bidding or the sale. Except as expressly provided herein, the Auction will be
conducted openly and will be transcribed The Debtors shall tile a notice announcing the results
of the Auction and the identity of the Winning Bidder(s) and the Back-Up Bidder on the Court’s
docket as soon as practicable after conclusion of the Auction, but in any event not later than
l\loon (ET) the next business day after the conclusion of the Auction. All creditors of the
Debtors and representatives of the Office of the United States Trustee for the District of
Delaware are permitted to attend the Auction provided that they give one (l) business day’s
advance written notice to counsel for the Debtors by email to co-counsel for the Debtors, Klee,
Tuchin, Bogdanoff & Stern LLP, Attn: Jonathan M. Weiss, Esq., Email: jweiss@ktbslaw.com,
and co-counsel for the Debtors, Young Conaway Stargatt & Taylor, LLP, Attn: Robert F.

Poppiti, Jr., Esq., Email: rpoppiti@ycst.corn.

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8. Only the Qualified Bidders may bid at the Auction. To the extent the Proposed
APAS submitted by Qualified Bidders differ in any material respect, the CRO, in consultation
with the Consultation Paities, may assign relative values to such differences, taking into account
the relative burdens and benefits resulting from such differences, and shall afford a Qualified
Bidder the opportunity to further modify such Proposed APA to reduce or eliminate any
deduction in value assigned to such Proposed APA. At the commencement of the Auction, and
following the processes described in the preceding sentence, the Debtors shall identify the bid
that they have determined to be the highest and best offer and shall permit the Qualified Bidders
to submit higher and better bids. Each subsequent bid must exceed the amount of the preceding
bid by not less than $l,000,000 and shall not be modified in a manner that causes it no longer to
be a Quali§ed Bid.

9. The CRO shall supervise the bidding process and conduct the Auction in such a
manner as to provide the Qualified Bidders a full, fair, and equal opportunity to participate in the
Auction. 'l`he CRO, in consultation with the Consultation Parties, shall determine which bid is to
be recommended to the Court for approval The Debtors shall request at the Sale l-learing that
the Court authorize the Debtors to consummate the Sale Transaction with the Winning Bidder.
All QualiEed Bidders at the Auction shall be deemed to have consented to the exclusive
jurisdiction of the Banlcruptcy Court. lf a Secured Ci'editor or the Agent is declared a Winning
Bidder, such Winning Bidder shall pay cash in the amount of such bid, less any amount of the
Secured Creditor’s or Agent’s Credit Bid Right.

lO. lf there is only one (l) Qualified Bid from a Qualified Bidder (the “Sole Qualified

§§d”), then no Auction shall be conducted, and the Court at the Sale Hearing shall proceed to

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consider the approval of the Sole Qualified Bid and the Debtors shall not consider any competing
or alternative offers or proposals to purchase the Purchased Assets.

ll. The Court shall hold a hearing on November 9, 2018 at 10:00 a.m. (Eastern Time)
(the “Sale Hearing”) to consider the approval of the Sale Transaction as set forth in the l\/lotion,
approve the Winning Bidder and the Winning Bid, approve the Back~Up Bidder and the Back-
Up Bid (as defined belovv), if necessary, and coniirm the results of the Auction, if applicable

12. Upon approval by the Court of the Winning Bid, the Winning Bidder’s Bid
Deposit shall become non-refundable if the Proposed APA is thereafter terminated as a result of
a breach by the Winning Bidder. The Bid Deposit of the Back»Up Bidder shall remain on
deposit in the Segregated Account pending the Closing Date (as defined below), and such
deposit shall become non-refundable if the Back-Up Bidder is declared the Winning Bidder and
if the Proposed APA is thereafter terminated as a result of a breach by the Back-Up Bidder. In
the event a dispute arises over whether a Bid Deposit is refundable or non-refundable, the Bid
Deposit shall remain in the Segregated Account pending a determination of the dispute by the
Court or Written agreement of the parties.

13. lf bids have been submitted by more than one (i) Qualified Bidder, the Qualified
Bidder that makes the next-highest and best bid to that of the Winning Bidder shall become the
back-up bidder (the “Back-Up Bidder”) and such Bacl<-Up Bidder’s final and highest and best
bid (the “Baek-Up Bi ”) shall, subject to the terms of the applicable Proposed APA, remain open
pending the closing of the Winning Bid (the “Closing Date”). lf the Winning Bid does not close
by the outside closing date specified in the Winning Bidder’s Proposed APA (Which date shall
not be later than the outside date specified in paragraph 4(a)(iii), above), the Back-Up Bid, as

selected by the CRO (after consultation With the Consultation Parties) at the Auction and

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approved as the Back-Up Bid by the Court at the Sale Hearing, shall upon notice by the Debtors
to the Back-Up Bidder, be deemed the Winning Bid without further order of the Court, and the
Back-Up Bidder shall be required to consummate the transaction in accordance With the
Proposed APA. lf the Winning Bidder breaches any of its obligations under the Proposed APA,
it shall forfeit the Bid Deposit in accordance with the Proposed APA without regard to the
Debtors’ ultimate damages occasioned by such breach, and the Bid Deposit shall be applied to
the Debtors’ damages, if any, and shall constitute liquidated damages, and the Debtors and the
bankruptcy estates shall not retain any other rights, remedies, claims, counterclaims, and
defenses against the Winning Bidder or any of its affiliates

14. The CRO may modify the bid procedures set forth in this Order in any
nonmaterial respect, at any time prior to or during the Auction if the CRO determines, in
consultation with the Consultation Paities, that such modifications will better promote the goals
of the auction process and are in the best interest of the bankruptcy estates and the creditors
thereof

15. Objections to the (i) Sale Transaction, if any (the “Sale Objections”) and
(ii) results of the Auction, if any (the “Auction Ob]'ections”) shall be in writing and shall be filed
and served so as to be actually received by the Court and the following parties (the “Ob]`ection
Recipients”) in the case of the Sale Objections on or before November 2, 2018 at 4:00 p.m.
(Eastern Time) (the “Sale Ob]`ection Deadline”) and, in the case of the Auction Objections, on
or before 8:30 a.m. (Eastern Time) on the day of the Sale Hearing (the “Auction Objection
Deadline”), provident that solely in respect of any Sale Objection(s) filed by the Committee, any

such Sale Obj ection(s) may be filed on or before the Auction Obj ection Deadline:

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a. Open Road Films, LLC, et al., 2049 Century Park East, 4th Floor, Los
Angeles, CA 90067, Attn: lames Ellis, Email: jellis@tangmp.com;

b. co-counsel for the Debtors, Klee, Tuchin, Bogdanoff & Stern LLP, 1999
Avenue of the Stars, 39th Floor, Los Angeles, California 90067, Attn: Michael L. Tuchin, Esq.
and Jonathan M. Weiss, Esq., Ernail: mtuchin@l{tbslaw.com and jweiss@ktbslaw.com;

c. co-counsel for the Debtors, Young Conaway Stargatt & Taylor, LLP,
Rodney Square, 1000 North King Sti‘eet, Wilmington, Delaware 19801, Attn: Michael Nestor,
Esq. and Robert F. Poppiti, Jr., Esq., Email: mnestor@ycst.com and rpoppiti@ycst.coni;

d. counsel for the Cornmittee, Pachulsl<i Stang Ziehl & lones LLP, 780 Third
Avenue, 34th Floor, New York, NY 10017, Attn: Robert J. Feinstein, Esq., Scott L. Hazan Esq.,
and Colin R. Robinson, Esq., Email: rfeinstein@pszjlaw.com, shazari@pszjlaw.com, and
crobinson@pszjlaw.com;

e. counsel for the Agent, Paul Hastings LLP, 200 Park Avenue, New Yorl<,
New Yoi‘k l0166, Attn: Andrew Tenzer, Esq., email: andrewtenzer@paulhastings.com and
Susan Williarns, Esq., email: susanwilliams@paulhastings.coni, and Ashby & Geddes, P.A.,
Attn: Bill Bowden, Esq., email: wbowden@ashbygeddes,com;

f. counsel for certain guilds, Bush Gottlieb, a Law Corporation, 801 North
Brand Boulevard, Suite 950, Glendale, California, Attn: Joseph A. Kohansl<i, Esq., email:
kohanslci@bushgottlieb.com and David E. Ahdoot, Esq., email: dahdoot@bushgottlieb.corn;

g. counsel for the Stalking Horse Purchaser (if any); and

h. the U.S. Trustee, 844 King Street, Suite 2207, Wihnington, Delaware,

19801, Attn: Linda Richenderfer, Esq., email: linda.richenderfer@usdoj .gov.

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The proposed Sale Notice and the proposed Notice of Assurnption and

Assignment are each hereby approved

Notice of (a) the Motion, (b) the Bid Procedures, (c) the Auction, (d) the

Objection Deadlines, (e) the Sale Hearing, and (i) the proposed assumption, assignment and sale

of Purchased Contracts to the Winning Bidder shall be good and sufficient, and no other or

further notice shall be required, if given as follows:

a. Notice of Auction and Sale Hearing: Within three (3) business days after

entry of this Order, the Debtors (or their agents) shall:

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i. provide notice (in substantially the form of the Sale Notice
attached hereto as Exhibit A) of this Order, the Motion, the Auction, the
Objection Deadlines, and the Sale Hearing by first-class mail upon (a) all Persons
known by the Debtors to have expressed an interest to the Debtors in a transaction
with respect to the Purchased Assets during the past six (6) months; (b) all entities
known by the Debtors to have asserted any Lien or interest in the Purchased
Assets; (c) all non-Debtor parties to the Contracts; (d) the U.S. Trustee; (e) the
Committee and its counsel; (f) any Governrnental Body known to have a claim in
the Chapter 11 Cases; (g) all other known creditors and equity security holders of
the Debtors; (h) all Persons that have requested special notice in the Chapter 11
Cases; and (i) all other Persons as directed by the Court; and

ii. cause the Sale Notice, as may be conformed for publication, to be
published on one occasion in the national edition of the USA Today and such local
newspapers or trade journals as the Debtors deem appropriate on or before

October 16, 2018.

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b. Assumption, Assignrnent and Cure Notice.
i. On or before October 12, 2018, the Debtors shall file with the

Court and serve via first class mail on each counterparty to a Contract (and
counsel to such counterparty, if known) a notice of assumption, assignment and
sale, substantially in the form of the Notice of Assumption and Assignrnent
attached hereto as Exhibit B. The Notice of Assumption and Assignment shall
include the Debtors’ calculation of the amount necessary to cure, pursuant to
section 365 of the Bankruptcy Code, all monetary defaults (the “Cure Amount”)
for each such Contract prior to the closing of the Sale. The Debtors reserve the
right to supplement the list of Contracts and provide additional Notices of
Assumption and Assignment for omitted contracts prior to the closing of the
Winning Bid, and to remove a Contract from the list of Purchased Contracts at
any time prior to the closing of the Winning Bid. Each Notice of Assumption and
Assignment that identifies a Contract that was not previously designated to be
assumed, assigned and sold or that reduces the Debtors’ calculation of the Cure
Amount shall provide a deadline of not less than seven business (7) days from the
date of service of such Notice of Assumption and Assignment by which the
counterparty to any such Contract may object to (a) its listing as a Contract, and
(b) the Debtors’ calculation of the Cure Amount for such Contract. The inclusion
of a Contract on the Notice of Assumption and Assignment shall not obligate the
Winning Bidder to take assignment of such Contract. Only those Contracts that
constitute Purchased Contracts pursuant to the Winning Bidder’s Proposed APA

will be assumed, assigned and sold to the Winning Bidder. The inclusion of a

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contract, lease or other agreement on the Notice of Assuniption and Assignment
shall not constitute or be deemed a determination or admission by the Debtors and
their estates or any other party in interest that such contract, lease or other
agreement is, in fact, an executory contract or unexpired lease within the meaning
of the Bankruptcy Code, and any and all rights of the Debtors and their estates
with respect thereto shall be reserved.

ii. Any counterparty to a Contract shall file and serve on the
Objection Recipients any objections to (a) the proposed assumption, assignment
and sale of its Contract to the Winning Bidder (and must state in its objection,
with specificity, the legal and factual basis of its objection) and (b) if applicable,
the proposed Cure Amount for its Contract (and must state in its objection, with
specificity, what Cure Amount is required with appropriate documentation in
support thereof), no later than November 2, 2018 at 4:90 p.m. (Eastern Time).
If no objection is timely filed and served, (x) the counterparty to a Contract shall
be deemed to have consented to the assumption, assignment and sale of the
Contract to the Winning Bidder(s) pursuant to sections 363 and 365 of the
Bankruptcy Code if such Contract is designated by the Winning Bidder(s) as a
Purchased Contract, and shall be forever barred from asserting any objection with
regard to such assumption, assignment and sale, except with respect to the
adequate assurance of future performance by the Winning Bidder(s), and (y) the
Cure Amount set forth in the Notice of Assumption and Assignment shall be
controlling pursuant to section 365 of the Bankruptcy Code, notwithstanding

anything to the contrary in any Contract, or any other document, and the

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counterparty to the Contract shall be deemed to have consented to the Cure
Amount pursuant to section 365 of the Bankruptcy Code, and shall be forever
barred from asserting any other claims related to such Contract against the
Debtors or the Winning Bidder(s), or the property of any of them except with
respect to the adequate assurance of future performance by the Winning

Bidder(s).

 
  
   

any Contract that does not timely tile an --"

will be bound by the a',_,_,_---,i ure Amount(s) set forth in the Notice of l

  
 

iii. No later than November S, 2018, the Debtors shall Hle with the
Bankruptcy Court and serve via overnight mail on each counterparty (and its
counsel, if known) to a Contract each Qualified Bidder’s proposed adequate
assurance of future performance as set forth in sections 365(b)(1)(C) and
365(b)(3) of the Banl<ruptcy Code. Any objection by a counterparty solely to the
proposed adequate assurance of future performance by the Qualified Bidder must
be filed and”served on the Objection Recipients no later than Novernber 7, 2018
at 4:00 p.rn. (Eastern Time). If no objection is timely filed and served, the
counterparty to a Contract shall be deemed to have consented to the Qualified
Bidder’s adequate assurance of future performance pursuant to section 365 of the
Bankruptcy Code, and shall be forever barred from asserting any objection with
regard to such adequate assurance of future performance should the Qualified

Bidder become the Winning Bidder or Back~Up Bidder.

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18. For the avoidance of doubt, this Order is not intended to be, and shall not be
construed as, approval of any of the terms of the Form APA or of the proposed sale order (both
filed at Docket No. 124), objections to either of which may be the subject of a Sale Objection.

19. Notwithstanding any applicability of Banl<ruptcy Rules 6004(h), 7062, or 9014,
the terms and conditions of this Order shall be immediately effective and enforceable upon its
entry.

20. This Court shall retain jurisdiction and power to enforce and interpret the

provisions of this Order.

 
      

Dated: October 9’ 2018 / d j \.

LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE

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